          Case 1:21-cv-00279-LY Document 1 Filed 03/29/21 Page 1 of 18



                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF TEXAS
                                      AUSTIN DIVISION

J.R., a minor, by his parents                    §
and next friends ANALISA and                     §
JOE R.;                                          §
                                                 §
D.J., a minor, by his parents                    §
and next friends LAURIE and                      §
DAMON J.;                                        §
                                                 §
A.T., a minor, by her parents                    §
and next friends ANDREA and                      §
CLINT T.;                                        §
                                                 §
G.S., a minor, by her parents                    §
and next friends JARIN and                       §
SEAN S.;                                         §
                                                 §
A.S., a minor, by his parent                     §
and next friend MARIA N.; and                    §
                                                 §
Disability Rights Texas,                         §
                                                 §
                      Plaintiffs,                §
                                                 §
v.                                               §    CIVIL ACTION NO.: 1:21-cv-279
                                                 §
AUSTIN INDEPENDENT                               §
SCHOOL DISTRICT,                                 §
                                                 §
                      Defendant.                 §


                            PLAINTIFFS’ ORIGINAL COMPLAINT



       Plaintiffs J.R., a minor, by his parents and next friends Analisa and Joe R.; D.J., a

minor, by his parents and next friends Laurie and Damon J.; A.T., a minor, by her parents and

next friends Andrea and Clint T.; G.S., a minor, by her parents and next friends Jarin and Sean S.;
            Case 1:21-cv-00279-LY Document 1 Filed 03/29/21 Page 2 of 18



A.S., a minor, by his parent and next friend Maria N.; and Disability Rights Texas hereby complain

of Austin Independent School District (Austin ISD) and allege the following:


                                    I.      INTRODUCTION

       1.      Evaluations are the foundation of providing students with disabilities the free

appropriate public education (FAPE) to which they are entitled under the Individuals with

Disabilities Education Act (IDEA). 20 U.S.C.A. § 1400 et seq. Evaluations are used to identify

children with disabilities, determine their eligibility for special education, and provide key

information to the team that develops the educational plan, including determining services, for

each student receiving special education.

       2.      Austin ISD is failing its students with disabilities because its evaluation system is

broken. Hundreds of students are waiting for initial evaluations and hundreds more are waiting

for reevaluations, all in violation of the timelines established by the IDEA and implementing state

law.

       3.      As a result of the failures of Austin ISD, some students are not receiving any

educational services, others are not receiving any special educational services, and others are

receiving services that are based on out-of-date evaluations. None of these students are receiving

the legally required FAPE.

       4.      Plaintiffs J.R., a four-year-old child with autism and expressive language disorder,

by his parents, Analisa and Joe R.; D.J., a six-year-old child with a sensory processing disorder

and Attention Deficit Hyperactivity Disorder (ADHD), by his parents Laurie and Damon J.; A.T.,

a five-year-old with suspected anxiety, obsessive-compulsive disorder, oppositional defiant

disorder, and selective mutism, by her parents Andrea and Clint T.; G.S., a six-year-old child with

a speech impairment and dyslexia, by her parents, Jarin and Sean S.; A.S., a ten-year-old with an



Plaintiffs’ Original Complaint                                                                     2
            Case 1:21-cv-00279-LY Document 1 Filed 03/29/21 Page 3 of 18



emotional disturbance, specific learning disability and autism, by his parent, Maria N.; and

Disability Rights Texas file this civil action against Defendant Austin ISD alleging violations of

the IDEA, 20 U.S.C. § 1400, et seq., 20 U.S.C.A. § 1415(i)(2), and Section 504 of the

Rehabilitation Act of 1973, 29 U.S.C. §794 (“504”). Plaintiffs seek declaratory and injunctive

relief to challenge Austin ISD’s failure to provide the named plaintiff children and at least 800

other students with timely initial special education evaluations and an estimated 1,600 students

with timely three-year reevaluations in the past year.


                                         II.     PARTIES

       5.      J.R.’s parents and next friends bring this action on his behalf. Plaintiff J.R. is a

four-year-old boy with a u t i s m and expressive language disorder. J.R. resides with his parents

in Austin, Travis County, Texas, and is zoned to attend Casey Elementary School in Austin ISD.

       6.      D.J.’s parents and next friends bring this action on his behalf. Plaintiff D.J. is a six-

year-old boy with a sensory processing disorder and ADHD. D.J. resides with his parents in

Austin, Travis County, Texas and attends Cunningham Elementary in Austin ISD.

       7.      A.T.’s parents and next friends brings this action on her behalf. Plaintiff A.T. is

five-year-old girl with suspected anxiety, obsessive-compulsive disorder, oppositional defiant

disorder, and selective mutism. A.T. resides with her parents in Austin, Travis County, Texas and

attends Davis Elementary in Austin ISD.

       8.      G.S.’s parents and next friends bring this action on her behalf. Plaintiff G.S. is a

six-year-old girl with a speech impairment and dyslexia. G.S. resides with her parents in Austin,

Travis County, Texas and attends Regina Matter, but is zoned to Oak Hill Elementary in Austin

ISD.

       9.      A.S.’s parent and next friend brings this action on his behalf. Plaintiff A.S. is a ten-



Plaintiffs’ Original Complaint                                                                         3
             Case 1:21-cv-00279-LY Document 1 Filed 03/29/21 Page 4 of 18



year-old boy with an emotional disturbance, specific learning disability and autism. A.S. resides

with his parent in Austin, Travis County, Texas and attends Allison Elementary in Austin ISD.

       10.        J.R., D.J., A.T., G.S. and A.S. are each a “child with a disability” within the

meaning of the IDEA, 20 U.S.C. § 1401(3) and will qualify for special education services when

fully assessed.

       11.        J.R., D.J., A.T., G.S. and A.S. are all people with disabilities as defined by Section

504 of the Rehabilitation Act of 1973, 29 U.S.C. §794 and are, therefore, entitled to the protections

outlined in Section 504 of the Rehabilitation Act.

       12.        Plaintiff Disability Rights Texas (“DRTX”) is an independent, private, non-profit

agency, created by federal law and designated by the Governor of Texas as the federal protection

and advocacy (“P&A”) system for Texas. DRTX has the authority under federal law to pursue

legal, administrative, and other appropriate remedies on behalf of Texans with disabilities to

redress violations of their rights, including advocacy to implement changes in the policies,

procedures, and practices of systems that impact persons with disabilities.             Developmental

Disabilities Assistance and Bill of Rights Act, 42 U.S.C. § 15001 et seq. (PADD Act); the

Protection and Advocacy for Individuals with Mental Illness (PAIMI) Act, 42 U.S.C. § 10801 et

seq.; and the Protection and Advocacy of Individual Rights (PAIR) Program of the Rehabilitation

Act, 29 U.S.C. § 794e (collectively referred to as the Acts). DRTX brings this action for

declaratory and prospective injunctive relief to require Austin ISD to change its policies,

procedures, and practices to ensure that all children with disabilities receive timely special

education evaluations.

       13.        DRTX’s governing board (“Board”), in accordance with 42 U.S.C. §

10805(c)(1)(B) and 42 U.S.C. § 15044(a) is composed of members who broadly represent, or are

knowledgeable about, the needs of the clients with disabilities served by the P&A system. See


Plaintiffs’ Original Complaint                                                                         4
             Case 1:21-cv-00279-LY Document 1 Filed 03/29/21 Page 5 of 18



also 42 C.F.R. § 51.22(b)(2). DRTX’s Board includes two (2) individuals who are persons with

disabilities and twelve (12) individuals who are family members of persons with disabilities. The

DRTX Board is responsible for planning, designing, and implementing activities necessary to

carry out DRTX’s federal mandate. 42 U.S.C. § 10805(c)(2)(A) & (B). Additionally, DRTX has

an Advisory Council; eighty percent of the Advisory Council’s members either have a mental

illness or are family members of persons with a mental illness. DRTX’s Board and Advisory

Council establish DRTX’s priorities for representation, and oversee and influence the activities

that DRTX undertakes in order to meet the requirements of its federal authorizing legislation. 42

U.S.C. § 10805(a)(6)(A) & (B).

       14.      DRTX also provides an opportunity for persons with disabilities to comment on its

priorities and activities, and has a grievance procedure for clients to assure that individuals with

mental illness and developmental disabilities have full access to the services of the system. 42

U.S.C. § 10805(a)(8) and (9); 42 U.S.C. § 15043(a)(2)(E). As such, DRTX represents persons

with disabilities and provides them the means by which they can protect their collective interests.

       15.      Further, DRTX has expended and continues to expend resources advocating on

behalf of children with disabilities who need special education services but have not been provided

timely evaluation, by representing individual clients with advocacy in schools and by filing

complaints with the Texas Education Agency (TEA). Through this work, DRTX has represented

at least ten students and their parents who were denied timely special education evaluations in

Austin ISD. Each of these clients and individuals, including the Plaintiffs, is a member of DRTX

and has suffered, or is continuing to suffer, an injury that would allow him or her to bring suit in

his or her own right.

       16.      The interests DRTX seeks to protect are germane to its purpose of advocating for

and protecting the legal rights of all Texans with disabilities. Neither the claims asserted nor the


Plaintiffs’ Original Complaint                                                                     5
             Case 1:21-cv-00279-LY Document 1 Filed 03/29/21 Page 6 of 18



declaratory and injunctive relief requested requires the participation of the individual members in

this suit. The benefits of the relief sought will necessarily inure to DRTX’s members who need

timely special education evaluation and compensatory services.

       17.      Defendant Austin ISD is a political subdivision of the State of Texas and a duly

incorporated school district located in Austin, Texas. The school district is a recipient of federal

funds under the IDEA, is an “educational service agency” within the meaning of t he IDEA, 20

U.S.C. § 1401(4), and thus must comply with the Act and its regulations. The school district

is served with this Complaint through Dr. Stephanie S. Elizade, Superintendent, 4000 S. IH 35

Frontage Road, Austin, Texas 78704.

       18.      Austin ISD receives federal funds, and it is therefore subject to the provisions of

Section 504 of the Rehabilitation Act, 29 U.S.C. §794.


                             III.    JURISDICTION AND VENUE

       19.      This Court has jurisdiction over the federal claims in this action pursuant to 20

U.S.C. § 1415(i)(2)-(3) and 28 U.S.C. § 1331. Under 28 U.S.C. § 1391(a)(3) and (b)(3), venue in

this action is proper in this district because Defendant Austin ISD may be found in this district, is

subject to personal jurisdiction within this district, and there is no other district where the action

may be brought.


                              IV.     NATURE OF THE ACTION

       20.      The Individuals with Disabilities Education Act (IDEA) provides that school districts

have an affirmative Child Find duty to identify, locate, and evaluate “[a]ll children with

disabilities…who are in need of special education and related services.” 20 U.S.C.A. §

1412(a)(3)(A). The initial evaluation must be conducted within 60 days of receiving parental

consent for the evaluation. 20 U.S.C. § 1414 (a)(1)(C)(I); 34 C.F.R. § 300.301(1)(i). Texas state law


Plaintiffs’ Original Complaint                                                                        6
              Case 1:21-cv-00279-LY Document 1 Filed 03/29/21 Page 7 of 18



requires that a district respond to a parent’s written request for an initial special education evaluation

within 15 school days, by providing (1) consent for evaluation, or (2) a prior written notice

explaining why district is not agreeing to evaluate. 19 TEX. ADMIN. CODE § 89.1011(b). Once

consent is provided, the initial special education evaluations to be completed within 45 school days.

19 TEX. ADMIN. CODE § 89.1011(c). After children are in special education, federal regulations

require reevaluation at least every three years unless a parent and the school district agree that it is

unnecessary. 34 C.F.R. § 300.303(b). These procedural rights are essential to the provision of the

substantive benefit afforded by the IDEA, which is a free appropriate public education (FAPE).

        21.      School psychologists, also known as Licensed Specialists in School Psychology

(LSSPs), are essential special education personnel who lead evaluations and provide other

interventions for students with disabilities. They are also trained to conduct threat assessments,

provide crisis intervention and response, and implement positive behavior intervention and supports.

        22.      Austin ISD’s ability to conduct timely evaluations has collapsed because of

numerous structural deficiencies in the district, including a severe shortage of LSSPs. Austin ISD

special educators and parents began raising the red flag on this issue in 2019. The District, however,

allowed the situation to get worse. Now, an estimated 800 students are believed to be waiting for

initial assessments that are passed their due date, leaving them with no special education services.

Twice as many students are believed to be past due on their three-year reevaluations, meaning that

their programing is based on out-of-date assessments and their current needs are not being met. As

a result, none of these students are receiving the legally required FAPE.


                               V.      FACTUAL ALLEGATIONS

A.      Austin ISD’s Long and Worsening History of School Psychologists Shortages and
        Evaluation Delays Began Before the Pandemic

        23.      Austin ISD has a long history of understaffing essential school psychologist


Plaintiffs’ Original Complaint                                                                         7
              Case 1:21-cv-00279-LY Document 1 Filed 03/29/21 Page 8 of 18



positions to serve students in special education. An outside review of the district’s special

education programs was conducted in 2010. This review found that “[t]here appear to be more

AISD students with disabilities per speech/language therapists and psychologists, compared with

most other urban districts.” Improving Special Education Services in Austin ISD, Great City

Schools (2010).

        24.      The issue was highlighted again more recently, beginning in 2019. During public

comment at the Austin ISD school board meeting on November 18, 2019, Austin ISD school

psychologist Cassandra Hulsey raised concerns about the inadequate staffing of school

psychologists in the district. She pointed to national best practices of employing one school

psychologist for every 500-700 students and compared that to Austin ISD’s positions which, if

every position was filled, only provided one psychologist for every 1,400 students.

        25.      The positions, however, were far from filled. For the 2019-2020 school year, the

District identified 49 campuses without an assigned LSSP, marking these positions as “vacant.”

        26.      On February 24, 2020, Special Education Teacher Sarah Kent offered public

comment to the AISD board that school psychologist vacancies were causing numerous delayed

evaluations on many campuses, including eight on her campus alone. She expressed concern that

students were going months without needed services, and that the district special education

department had shared no plan with teachers to get evaluations done and to provide compensatory

services. She referred to the district’s "dereliction of duty."

    B. Austin ISD Fails to Follow State Guidance on Evaluations During COVID-19
       Pandemic, Increasing its Evaluation Backlog

        27.      During the COVID-19 pandemic, the Texas Education Agency (TEA) provided

detailed guidance encouraging districts to “make a good faith effort to complete relevant

components of the evaluations, to the extent practicable, given limitations on face-to-face



Plaintiffs’ Original Complaint                                                                   8
             Case 1:21-cv-00279-LY Document 1 Filed 03/29/21 Page 9 of 18



evaluation.”

https://tea.texas.gov/sites/default/files/covid/covid19_evaluation_guidance_april_2.pdf.        TEA

also made clear that timelines for special education evaluations were not waived, and continued

to apply. As noted by TEA, school days include days where educational services or instructional

supports were provided to any student. Tex Educ. Code § 29.004. This includes virtual instruction

provided during periods when campuses were closed for in-person learning.

       28.      TEA even included helpful charts showing components of evaluation that could

likely still be completed during virtual learning.

       29.      Despite TEA guidance, Austin ISD instructed their limited evaluators who were

already backlogged with overdue evaluations to cease all testing when schools were moved to

virtual learning in April 2020. A district special education supervisor told DRTX in July 2020

that no special education evaluations would take place during closures and when social distancing

guidelines were in place. In the fall, Austin ISD began the school year with virtual-only instruction

and continued to state that evaluations would not start back until classes resumed in person.

       30.      On October 2, 2020, DRTX filed a State Special Education Complaint against

Austin ISD on behalf of two students with delayed special education evaluations. Austin

acknowledged the delays but blamed the delays on the pandemic. In reviewing the communication

Austin ISD sent TEA, DRTX learned that at least 627 additional students were awaiting initial

special education assessment. The TEA failed to address those students in the investigation report.

   C. The Media Exposes Rapidly Escalating Evaluation Delays and a Special Education
      Department in Complete Disarray

       31.      On February 26, 2021, an investigative journalist found that “[a]pproximately 500

initial evaluations and a ‘similar number’ of reevaluations are currently overdue, and the numbers

of staff who would typically be able to fill them are dwindling, leading to a heavy reliance on



Plaintiffs’ Original Complaint                                                                      9
          Case 1:21-cv-00279-LY Document 1 Filed 03/29/21 Page 10 of 18



contracted employees.” Clara Ence Morse, AISD’s Special Education System Struggles to Keep

Up, Austin Chron., Feb. 26, 2021, https://www.austinchronicle.com/news/2021-02-26/aisds-

special-education-system-struggles-to-keep-up/. With data obtained through open records

requests, the reporter found Austin ISD has lost nearly half of its evaluation staff since October

2019. Id. In March 2019, the district employed 51 school psychologists, but, since then, 48 had

resigned. Id. Even with new hires, the district currently employs only 19 school psychologists,

“putting its student-to-psychologist ratio at 3,959:1 – nearly six times the upper limit

recommended by the National Association of School Psychologists.” Id. Dr. Akweta Hickman,

Austin ISD's executive director of special education, announced the week of the story that she

would leave the district. Id.

       32.     In the article, the former supervisor of evaluations for Austin ISD, Karen Owens,

described how the district started falling behind and why the staff, including herself, decided to

leave before the COVID pandemic even began. She said it became much more difficult to get

approval for contract extensions to complete evaluations over the summer, a common way for

evaluators to get ahead of the back-to-school deadline crunch while being paid for their additional

time. In addition, Owens described working 12-hour days frequently, including weekends. Id.

       33.     Just a few weeks later, a subsequent media story found that the number of out-of-

date initial evaluations had reached 800. Claire McInerny, Panic Mode: Austin ISD Needs To

Evaluate 800 Students For Special Ed., It Doesn't Have The Staff To Do It, KUT 90.5 AUSTIN’S

NPR STATION. March, 11, 2021, https://www.kut.org/education/2021-03-11/panic-mode-

austin-isd-needs-to-evaluate-800-students-for-special-ed-it-doesnt-have-the-staff-to-do-it. In that

story, former Austin ISD school psychologist Alana Riddle described being assigned two

campuses to manage three years ago but trying to keep up with six campuses at the time of her

resignation in December 2020. Id. She also explained that school psychologists were being told


Plaintiffs’ Original Complaint                                                                  10
          Case 1:21-cv-00279-LY Document 1 Filed 03/29/21 Page 11 of 18



not to prioritize revaluations, which are required every three years. Id.

   D. J.R.’s Delay in Assessment for Early Childhood Special Education Denies Him of All
      Educational Services During Crucial Preschool Year

       34.     J.R. is a four-year-old boy with autism and expressive language disorder who is

zoned to Casey Elementary in Austin ISD. Because of Austin ISD’s delays to evaluate J.R. for

special education, he has been denied all access to public school and to all special educational

services for months.

       35.     At the recommendation of J.R.’s pediatrician, his parents emailed Austin ISD’s

special education department to request a special education evaluation on October 26, 2020. On

November 10, 2020, his parents signed an evaluation consent for Austin ISD to conduct a Full and

Individual Initial Evaluation (FIIE).

       36.     On December 28, 2020, J.R.’s physician wrote a follow-up letter directed to Austin

ISD stating that J.R. has been diagnosed with autism and associated developmental delays and

that he needs to be enrolled in an in-person pre-kindergarten program as soon as possible.

       37.     J.R.’s parents followed up with Austin ISD after months of waiting for evaluations

to begin. Austin ISD rarely responded to his parents’ inquiries, but when they did, they reminded

his parents that J.R. was on several evaluation waitlists along with other children with disabilities

who have already been waiting for over a year to be evaluated. In the correspondence to his

parents, Austin ISD blamed the delay of evaluations on COVID-19, an understaffed department,

months of backlogged evaluations, and the fact that they must work around parent schedules.

       38.     On March 4, 2021, J.R.’s parents requested an Admission, Review and Dismissal

(ARD) meeting in order to determine eligibility for special education services using outside

evaluations which had already been completed, while Austin ISD completed the FIIE. This would

have allowed J.R. to enroll in school and begin receiving services. On March 26, 2021, Katy



Plaintiffs’ Original Complaint                                                                    11
          Case 1:21-cv-00279-LY Document 1 Filed 03/29/21 Page 12 of 18



Escandell, the Assistant Director for 504 and Special Education, confirmed in email that the

outside assessments provided by the parents were “thorough documents” but concluded that they

cannot replace the district’s own assessment for eligibility determination.

       39.     Because four-year-old students like J.R. are only entitled to attend school if they

are special education-eligible, the delay in his assessment has denied him all educational services.

   E. D.J.’s Delay in Assessment for Early Childhood Special Education Denies Him of All
      Special Educational Services

       40.     D.J. is a six-year-old boy with a sensory processing disorder and ADHD who

attends Cunningham Elementary in Austin ISD. Because of Austin ISD’s delays to evaluate D.J.

for special education, he is being denied access to all special educational services.

       41.      Prior to beginning school, D.J. had been receiving occupational therapy from a

private provider because of his suspected disability. On September 9, 2020, shortly after D.J.

began kindergarten, his parents verbally requested a special education evaluation during a

telephone call with an Austin ISD staff member. His parents transmitted their special education

evaluation request in writing through an email sent to school staff that same day. In response to

the email, an Austin ISD staff member advised that the evaluation consent needed to be signed at

an ARD meeting. The ARD meeting was never scheduled.

       42.     Texas law requires Austin ISD to either provide the parent requesting special

education evaluations with either an evaluation consent form or, if the school is refusing conduct

the requested evaluation, a prior written notice form explaining the reason for the refusal within

15 days of the request. Despite this requirement, D.J.’s parents were only provided with an

evaluation consent forms more than four months later, on January 15, 2021, via email. D.J.’s

parents should have been provided with an evaluation consent form on September 24, 2020 and

his evaluations should have been completed by December 4, 2020.



Plaintiffs’ Original Complaint                                                                   12
          Case 1:21-cv-00279-LY Document 1 Filed 03/29/21 Page 13 of 18



       43.     D.J.’s evaluations were started on March 2, 2021, but have not been completed.

D.J. is still not receiving any supports or services to address his disability. Because of Austin

ISD’s failure to follow legally required timelines, D.J. has missed out on critical support, and it

has affected his ability to benefit from his education.

   F. A.T.’s Delay in Assessment for Early Childhood Special Education Denies Her of All
      Special Educational Services

       44.     A.T. is a five-year-old girl with suspected anxiety, obsessive-compulsive disorder,

oppositional defiant disorder, and selective mutism who attends Davis Elementary in Austin ISD.

       45.     A.T.’s behaviors and their effect on her ability to learn led her parents to request

special education evaluations in early March 2020. An evaluation consent signing meeting was

scheduled for March 25, 2020 but was rescheduled because of the sudden school closures due to

COVID-19. Evaluation consents were signed on April 23, 2020.

       46.     A.T.’s evaluations should have been completed on June 22, 2020. As of today,

evaluations have not been initiated and A.T. has gone the entire 2020-2021 school year without

any special education supports or services. She has missed out on a year of assistance to which

she is legally entitled; a year of lack of assistance coupled with a year of virtual learning has set

A.T. her back socially and psychological.

   G. G.S.’s Delay in Assessment for Special Education Denies Her of All Special Educational
      Services

       47.     G.S. is a six-year-old girl with suspected speech disorder and dyslexia who attends

Regina Matter. Her district of residence is Austin ISD and is zoned to Oak Hill Elementary School.

The IDEA requires that local education agencies locate, identify, and evaluate all children with

disabilities, including those who are enrolled in private schools located in the school district served

by the local education agency or students who live within the district. [34 CFR 300.131(a)] [20

U.S.C. 1412(a)(10)(A)(i)(II)]. Austin ISD has a portion of federal funds to serve children enrolled


Plaintiffs’ Original Complaint                                                                      13
            Case 1:21-cv-00279-LY Document 1 Filed 03/29/21 Page 14 of 18



in private schools and residing in Austin ISD boundaries.

         48.   G.S.’s disability has greatly affected her ability to read and solve math problems.

G.S.’s academic struggle led her parents to request special education evaluations from Austin ISD

on November 11, 2020 via email. A consent for a Full and Individual Initial Evaluation was signed

on December 17, 2020 via a Zoom meeting.

         49.   On March 9, 2021, almost a month after the evaluations should have been

completed, G.S.’s parents received an email stating that they did not know when G.S.’s

evaluations would be completed due to Austin ISD’s evaluation team being “severely short-

staffed.”

   H. A.S.’s Delay in Assessment for a Special Education Re-Evaluation Denies Him of
      Appropriate Special Educational Services

         50.   A.S. is a ten-year old boy with an emotional disturbance, specific learning

disability and suspected autism who attends Allison Elementary in Austin ISD. A.S. is currently

receiving inappropriate special education services because his evaluations are outdated and do not

recognize autism as his primary disability. Because A.S.’s evaluations are no longer useful in

determining the supports and services to which he is entitled, he has made no progress and is not

benefiting from his education.

         51.   A.S.’s regression has been caused by Austin ISD’s failure to timely re-evaluate

him in order to address his disability. A.S.’s most recent full individual evaluation was conducted

on November 30, 2017. A.S. is enrolled 4th grade but reads at a 1st grade level and he cannot

write.

         52.   On November 5, 2020, an ARD meeting was held to conduct a review of existing

evaluation data (REED) and to obtain consent for a full reevaluation for A.S. The REED revealed

that additional information was needed in the areas of language and communication, health/motor



Plaintiffs’ Original Complaint                                                                  14
          Case 1:21-cv-00279-LY Document 1 Filed 03/29/21 Page 15 of 18



abilities, sociological, emotional/behavior, intelligence/adaptive behavior, and academics. At the

conclusion of the ARD meeting, A.S.’s parent signed an evaluation consent for a Full and

Individual Evaluation (re-evaluation) and a Functional Behavioral Assessment. The FIE and FBA

should have been completed on January 19, 2021 but have not been completed to date.


                   VI.   EXHAUSTION OF ADMINISTRATIVE REMEDIES

       53.     To ensure that all children with disabilities receive FAPE, parents are granted the

rights to participate in the educational planning for their children and to pursue administrative

remedies should the local education agency (“LEA”) fail to provide the required educational

evaluations, services and supports to ensure that children receive a FAPE. 20 U.S.C. § 1415. While

this individualized system works well in most cases that require fact-intensive findings about

children’s individualized needs, there remain other instances that are not susceptible to case-by-

case resolution.

       54.     In this case, over eight hundred children are currently impacted by the same failure

of Austin ISD to conduct timely assessments. Similarly, hundreds of students are currently

impacted by the failure of Austin ISD to conduct timely re-assessments. Each of these needs the

same systemic changes to Austin ISD policies regarding assessments and re-assessments. There is

no practical or efficient way for each of the impacted children to utilize the administrative process.

Additionally, exhausting remedies for any one or several students would be futile, because the

district would expedite evaluation and award compensatory services to that one child (as they have

with previous individual DRTX clients) without remedying the systemic concerns that are

impacting the other students. This problem is exacerbated because of the inequity to accessing

legal resources and the very real limitation of the number of individual clients that public interest




Plaintiffs’ Original Complaint                                                                     15
            Case 1:21-cv-00279-LY Document 1 Filed 03/29/21 Page 16 of 18



providers like DRTX can serve. Because exhaustion would be futile, exhaustion should not be

required.


                                  VII.    CAUSES OF ACTION

 FIRST CAUSE OF ACTION: INDIVIDUALS WITH DISABILITIES EDUCATION ACT

       Plaintiffs incorporates paragraphs 1 through 54 of this Complaint as if fully incorporated

herein. Austin ISD, by its actions and inactions set forth above, violates the Individuals with

Disabilities Education Act, the Texas Education Code, and the rules promulgated by the Texas

Commissioner of Education and the State Board of Education by:

       (a)     failing to develop policies and procedures to identify, locate, and evaluate
               students for special education and related services, as required under the
               IDEA. 34 C.F.R § 300.111.

       (b)     failing to provide timely initial evaluations for special education, as required
               by 20 U.S.C. § 1414 (a)(1)(C)(I), 34 C.F.R. § 300.301(1)(i) and 9 TEX.
               ADMIN. CODE § 89.1011.

       (c)     failing to provide timely revaluations for special education, as required by
               20 U.S.C. § 1414(a)(2) and 34 C.F.R. § 300.303(b).

       (d)     failing to provide a free appropriate public education to students impacted
               by delayed evaluation, 20 U.S.C. § 1412(a)(1)(A), 20 U.S.C.A. § 1401(9),
               20 U.S.C.A. § 1400(c)(5)(A) and (D), 34 C.F.R. § 300.17, 34 C.F.R.
               § 300.101, and 34 C.F.R. § 300.320-324;

       (e)     failing to provide children including J.R. ages three to five the right to be
               provided a FAPE through the public school system. 34 C.F.R. § 300.800.

                            SECOND CAUSE OF ACTION: SECTION 504
                             OF THE REHABILITATION ACT OF 1973

       Plaintiffs incorporate by reference the allegations contained in paragraphs 1 through 54 and

allege that Austin ISD’s failure to provide adequate staffing and practices was in bad faith, a gross

violation of professional judgment, deliberately indifferent, and the result of intentional

discrimination in violation of Section 504 of the Rehabilitation Act.




Plaintiffs’ Original Complaint                                                                    16
            Case 1:21-cv-00279-LY Document 1 Filed 03/29/21 Page 17 of 18



                                   VIII. ATTORNEY’S FEES

       Plaintiffs are entitled to and seeks an award of attorney’s fees and costs pursuant to the

IDEA, 20 U.S.C. § 1415(i)(3)(B), and Section 504 of the Rehabilitation Act of 1973, 29 U.S.C.

§ 794a(b).


                                  IX.     PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs respectfully request that judgment be entered in their favor

and against Defendants on all of their respective causes of action, and that this Court

provide the following relief:

       1.       Issue preliminary and permanent injunctions pursuant to the IDEA and Section 504
                to enjoin Defendant from promulgating and implementing policies, procedures,
                and practices in violation of the IDEA and Section 504.

       2.       Enter a declaratory judgment declaring that Defendant’s policies, procedures and
                practices relating to the evaluation of students with disabilities violates the rights
                of all Plaintiffs under the IDEA and Section 504.

       3.       Pursuant to the IDEA, 20 U.S.C. § 1415(i)(2)(C) and Section 504, 29 U.S.C.
                § 794a(a)(2), order Defendant to:

             a. Provide expedited special education evaluations for all children with currently
                delayed assessments utilizing existing staff, contractors, and evaluators that
                conduct independent educational evaluations (IEEs);

             b. Convene ARD committees for every student impacted by delayed assessment for
                the past year to determine their need for compensatory educational services;

             c. Direct ARD committees to determine that outside psychological assessments
                finding students eligible for special education services must be accepted for
                purposes of beginning services until such time that district is able to conduct their
                own assessment;

             d. Recruit and hire one school psychologist for every 700 enrolled students and
                continue school psychologist contracts through the summer as needed to work on
                overdue evaluations;

       4.       Order such other and further relief as the Court may deem just, equitable, and
                proper, and




Plaintiffs’ Original Complaint                                                                     17
            Case 1:21-cv-00279-LY Document 1 Filed 03/29/21 Page 18 of 18



       5.      Awarding Plaintiffs’ attorney’s fees and costs.

Dated: March 29, 2021
                                                   Respectfully submitted,

                                                   /s/ David M. Peterson
                                                   David M. Peterson
                                                   Attorney-in-charge
                                                   Texas Bar No. 24056123
                                                   Email: dpeterson@susmangodfrey.com
                                                   Neal S. Manne
                                                   Texas Bar No. 12937980
                                                   Email: nmanne@susmangodfrey.com
                                                   SUSMAN GODFREY L.L.P.
                                                   1000 Louisiana Street, Suite 5100
                                                   Houston, Texas 77002
                                                   (713) 653-7873 (phone)
                                                   (713) 654-6666 (fax)

                                                   Dustin Rynders
                                                   (application for admission to the Western
                                                   District of Texas pending)
                                                   Texas Bar No. 24048005
                                                   Email: drynders@drtx.org
                                                   DISABILITY RIGHTS TEXAS
                                                   1500 McGowen, Suite 100
                                                   Houston, Texas 77004
                                                   (713) 974-7691 (phone)
                                                   (713) 974-7695 (fax)

                                                   L. Kym Davis Rogers
                                                   Texas Bar No. 00796442
                                                   Email: krogers@drtx.org
                                                   DISABILITY RIGHTS TEXAS
                                                   1420 W. Mockingbird Lane, Suite 450
                                                   Dallas, Texas 75247
                                                   (214) 845-4045 (phone)
                                                   (214) 630-3472 (fax)


                                                   Counsel for Plaintiffs




Plaintiffs’ Original Complaint                                                                 18
